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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF VIRGINIA
                        BIG STONE GAP DIVISION


UNITED STATES OF AMERICA              )
                                      )
                                      )
v.                                    )             Case No. 2:20CR00017-MFU
                                      )
                                      )
 SAMUEL SILVA                         )

                     MOTION TO COMPEL DISCOVERY

      The Court asked the parties to determine what, if any, discovery requests could

be agreed upon. In compliance with the Court’s order, the parties conferred, and on

July 27, 2022, defense counsel sent the government a letter withdrawing and

modifying numerous requests. The government responded on August 26, 2022 and

agreed to produce certain documents by September 9, 2022.          The government

tendered additional discovery on September 8, 2022.

      The parties resolved several of the previously tendered discovery requests, and

much of that information has been provided to the defense. Despite the parties’

agreement on several of the discovery requests, we ask the Court to resolve the

discovery requests below.
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 No.   Request                                Issue
 6     All information obtained at any time   The government agreed to provide this
       by the Designation and Sentencing      information to the defense. The defense
       Computation Center (DSCC) or other     did not receive a completely updated
       BOP officials including SIS            version of Mr. Silva’s Central File. For
       memorandum of interviews or            example, Mr. Silva’s Special Housing
       debriefs that references Samuel        Unit and mental health records from
       Silva, and all pipeline information    2019 forward have not been received. We
       related to his transfers to a BOP      request that the Central File be provided
       facility before and after September    in its entirety.
       14, 2018, that is, any information
       sent to a receiving facility or any
       information given to transportation
       officers regarding classification or
       security issues for Samuel Silva.
 10    All housing or transport records for   The government declined to provide the
       any government witness for the         requested material, stating the defense
       period beginning September 14, 2018    failed to make a prima facie showing of
       to the present.                        materiality. This is not the appropriate
                                              standard. Even if it were, the material
                                              requested by the defense is directly
                                              related to the offense and the
                                              government’s investigation, which is
                                              comprised of jailhouse informants who
                                              have been moved throughout the BOP.
                                              The request should be disclosed to the
                                              defense pursuant to Brady v Maryland.
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 14    All BOP forms BP-A657.013, inmate         The government provided some of the
       telephone call monitoring reports, or     requested information, but none for
       inmate monitoring tape access logs        potential government witnesses or other
       for any government witness, for           targets of the investigation, such as other
       Samuel Silva and Abraham Aldana,          gang members. It generally objected to
       or any target of the investigation into   the request, stating the defense failed to
       the death of BOP inmate Abraham           make a prima facie showing of
       Aldana.                                   materiality. This is not the appropriate
                                                 standard. Even if it were, the
                                                 government has stated, on multiple
                                                 occasions, that Mr. Silva caused Mr.
                                                 Aldana’s death because of gang activity.
                                                 See Doc. 188. As the request relates to
                                                 Mr. Silva, the government must provide
                                                 it per Rule 16(a)(B). As the request
                                                 pertains to Mr. Aldana and government
                                                 witnesses, the request should be
                                                 disclosed to the defense pursuant to
                                                 Brady v. Maryland.
 21    Any documents establishing physical       The government objected to this request,
       mail or phone contact between any         stating that the defense failed to make a
       investigator participating in the         prima facie showing of materiality. This
       investigation of the death of BOP         is not the appropriate standard. Even if
       inmate Abraham Aldana and any             it were, this request is directly related to
       government witness or his attorney.       the charged offense and should be
                                                 disclosed to the defense pursuant to
                                                 Brady v. Maryland and Jencks v. United
                                                 States.
 24    All documents reflecting all              The government provided a list of
       assignments of prisoners designated       incarcerated persons and related
       members of strategic threat groups,       strategic threat groups from A-Unit only.
       or disruptive groups, or management       The government’s witnesses allege that
       interest groups at USP Lee from           meetings happened on the yard with
       January 1, 2017 until December 31,        individuals from other units in USP Lee.
       2018                                      This request is directly related to the
                                                 charged offense and should be disclosed
                                                 to the defense pursuant to Brady v.
                                                 Maryland.
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 32    Copies of all Board of Inquiry           The defense revised this request by
       Reports, Regional Inquiry Team           limiting the requested time frame. The
       Reports, Local Inquiry Team Reports,     government objected to this request,
       and local responses and corrective       stating that the defense failed to make a
       action plans or recommendations for      prima facie showing of materiality. This
       all incidents of violence resulting in   is not the appropriate standard. Even if
       injury to inmates or staff at USP Lee    it were, this request is directly related to
       from January 1, 2018 through             the charged offense and should be
       September 14, 2018.. Also, all           disclosed to the defense pursuant to
       documents, records, working papers,      Brady v. Maryland.
       or personal records created by
       members of the boards or teams, to
       include electronic material from
       January 1, 2018 through September
       14, 2018.
 43    All Posted Picture File, STG             The government objected to this request,
       (Security Threat Group) file, AIMS       stating that the defense failed to make a
       information, SIS card file, or any       prima facie showing of materiality. This
       intelligence information maintained      is not the appropriate standard. Even if
       in the SIS Office for all inmates at     it were, the government alleges that Mr.
       USP Lee on September 14, 2018.           Silva’s charges are gang related. The
                                                request should be disclosed to the
                                                defense pursuant to Brady v. Maryland.
 50    Copies of all Daily Lieutenant’s         The defense revised this request by
       Operational Logs from September 1,       limiting the request to a 30-day time
       2018 to September 30, 2018.              frame. The government maintains its
                                                objection, stating that the defense failed
                                                to make a prima facie showing of
                                                materiality. This is not the appropriate
                                                standard. Even if it were, again, it is the
                                                government’s theory that the charged
                                                offense is gang related. The requested
                                                reports typically show relevant
                                                information. This request is directly
                                                related to the charged offense and should
                                                be disclosed to the defense pursuant to
                                                Brady v. Maryland.
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 51    Copies of Form 583, Report of        The defense revised this request by
       Incident, prepared by USP Lee from   limiting it to the year of the charged
       January 1, 2018.                     offense. The government objected to this
                                            request, stating that the defense failed to
                                            make a prima facie showing of
                                            materiality. This is not the appropriate
                                            standard. Even if it were, the
                                            government has alleged that this is a
                                            gang-related offense. The report likely
                                            contains information regarding gang
                                            activity at USP Lee. This request is
                                            directly related to the charged offense
                                            and should be disclosed to the defense
                                            pursuant to Brady v. Maryland.
 52    Copies of all monthly Lieutenants’   The defense revised this request by
       meeting minutes from March 1, 2018   limiting it to a six-month period that
       to October 31, 2018.                 includes the offense date. The
                                            government objected to this request,
                                            stating that the defense failed to make a
                                            prima facie showing of materiality. This
                                            is not the appropriate standard. Even if
                                            it were, the government has alleged that
                                            this is a gang-related offense. The report
                                            likely contains information regarding
                                            gang activity at USP Lee. This request is
                                            directly related to the charged offense
                                            and should be disclosed to the defense
                                            pursuant to Brady v. Maryland.
 53    Copy of all warden/executive staff   The defense revised this request by
       meetings and department head         limiting it to a six-month period that
       meetings from March 1, 2018 to       includes the offense date. The
       October 31, 2018.                    government objected to this request,
                                            stating that the defense failed to make a
                                            prima facie showing of materiality. This
                                            is not the appropriate standard. Even if
                                            it were, the government has alleged that
                                            this is a gang-related offense. The report
                                            likely contains information regarding
                                            gang activity at USP Lee. This request is
                                            directly related to the charged offense
                                            and should be disclosed to the defense
                                            pursuant to Brady v. Maryland.
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 54    Copies of the Institutional Mass       The defense revised this request by
       Shakedowns/Searches from January       limiting the time frame. The government
       1, 2018 to September 30, 2018.         objected to this request, stating that the
                                              defense failed to make a prima facie
                                              showing of materiality. This is not the
                                              appropriate standard. Even if it were,
                                              the government has alleged that this is a
                                              gang-related offense. The report likely
                                              contains information regarding gang
                                              activity at USP Lee. This request is
                                              directly related to the charged offense
                                              and should be disclosed to the defense
                                              pursuant to Brady v. Maryland.
 55    Records regarding contraband items     The defense revised this request by
       found in USP Lee inmates’ possession limiting the time frame. The government
       and/or their living or work areas for  objected to this request, stating that the
       January 1, 2018 through September      defense failed to make a prima facie
       14, 2018, including but not limited to showing of materiality. This is not the
       housing unit shakedown logs.           appropriate standard. Even if it were,
                                              the government has alleged that this is a
                                              gang-related offense. The report likely
                                              contains information regarding gang
                                              activity at USP Lee. This request is
                                              directly related to the charged offense
                                              and should be disclosed to the defense
                                              pursuant to Brady v. Maryland.
 62    A copy of the most recently conducted The defense revised this request by
       Prison Social Climate Survey report    limiting it to the year of the charged
       regarding USP Lee from 2018 or         offense. The government objected to this
       before.                                request, stating that the defense failed to
                                              make a prima facie showing of
                                              materiality. This is not the appropriate
                                              standard. Even if it were, the
                                              government has alleged that this is a
                                              gang-related offense. The report likely
                                              contains information regarding gang
                                              activity at USP Lee. This request is
                                              directly related to the charged offense
                                              and should be disclosed to the defense
                                              pursuant to Brady v. Maryland.
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 68    All institutional prepared Report of    The defense revised this request by
       Incident Form 583’s for all inmate-     limiting the time frame. The government
       on-inmate assaults at USP Lee,          objected to this request, stating that the
       including but not limited to assaults   defense failed to make a prima facie
       with weapons from August 1, 2017 to     showing of materiality. This is not the
       September 30, 2018.                     appropriate standard. Even if it were,
                                               the government has alleged that this is a
                                               gang-related offense. The report likely
                                               contains information regarding gang
                                               activity at USP Lee. This request is
                                               directly related to the charged offense
                                               and should be disclosed to the defense
                                               pursuant to Brady v. Maryland.
 69    Chronological Disciplinary Data         The defense revised this request by
       (CDA) for guilty findings for the       limiting the time frame to the years Mr.
       following prohibited acts, for USP      Silva was in custody at USP Lee. The
       Lee for the following years; FY 2017    government objected to this request,
       and 2018.                               stating that the defense failed to make a
       a. Code 100 and Code 100A, Killing      prima facie showing of materiality. This
       b. Code 101 and Code 101A,              is not the appropriate standard. Even if
       Assaulting any person with serious      it were, the government has alleged that
       injury, for inmate on inmate and        this is a gang-related offense. The report
       inmate on staff.                        likely contains information regarding
       c. Code 104 and Code 104A,              gang activity at USP Lee. This request is
       Possession of weapon or sharpened       directly related to the charged offense
       instrument.                             and should be disclosed to the defense
       d. Code 224 and Code 224A, Assault      pursuant to Brady v. Maryland.
       with less serious injuries for inmate
       on inmate and inmate on staff.
       Code 201 Fighting with another
       person "
 78    Make available for inspection USP       The defense revised this request and only
       Lee’s local emergency plan for staff    seeks to review the plan, eliminating the
       response to institutional               government’s concern that the safety of
       emergencies.                            incarcerated persons and institutions
                                               within the BOP.
 84    A population roster for every Unit at   The government’s witnesses allege that
       USP Lee on September 14, 2018,          meetings happened on the yard with
       including documentation of empty        individuals from other units in USP Lee.
       cells                                   This request is directly related to the
                                               charged offense and should be disclosed
                                               to the defense pursuant to Brady v.
                                               Maryland.
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 85     A copy of all notices posted either on   The government objected to this request,
        the electronic bulletin board, sent      stating that the defense failed to make a
        through e-mail, or physically posted     prima facie showing of materiality. The
        for inmate review for the years 2017     defense believes one or more memos
        and 2018.                                related to cell changes was provided to
                                                 individuals incarcerated at USP Lee.
                                                 This request is directly related to the
                                                 charged offense and should be disclosed
                                                 to the defense pursuant to Brady v.
                                                 Maryland.
 93     The Federal Bureau of Prisons State      The defense revised this request by
        of the Bureau Report for the year        limiting it to the year of the charged
        2018.                                    offense. The government objected to this
                                                 request, stating that the defense failed to
                                                 make a prima facie showing of
                                                 materiality. This is not the appropriate
                                                 standard. Even if it were, the
                                                 government has alleged that this is a
                                                 gang-related offense. The report likely
                                                 contains information regarding gang
                                                 activity at USP Lee. This request is
                                                 directly related to the charged offense
                                                 and should be disclosed to the defense
                                                 pursuant to Brady v. Maryland.


The defense asks this Court to order the government to provide the requested

discovery so that Mr. Silva can meet the government’s evidence, adequately prepare

witnesses, and prepare to impeach or rebut witness testimony. Further, the defense

reserves the right to compel production of requests the government has stated it will

provide, including inspection of documents in its custody.
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                                         Respectfully submitted,

                                         JUVAL O. SCOTT
                                         Federal Public Defender
                                         for the Western District of Virginia

                                         s/Juval O. Scott
                                         Juval O. Scott
                                         Office of the Federal Public Defender
                                         for the Western District of Virginia
                                         210 First Street SW, Suite 400
                                         Roanoke, VA 24011
                                         (540) 777-0880
                                         Indiana Bar No. 23741-49

                                         s/ Arin Melissa Brenner
                                         Arin Melissa Brenner
                                         Office of the Federal Public Defender
                                         for the Western District of Virginia
                                         210 First Street SW, Suite 400
                                         Roanoke, VA 24011
                                         (540) 777-0884
                                         New York Bar No. 4990974

                                         Counsel for Samuel Silva
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                           CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the foregoing document was electronically
 filed via CM/ECF and will be served electronically to counsel of record on this 11th
 day of October, 2022.

 Zachary Lee
 Criminal Chief
 United States Attorney’s Office
 310 Cummings Street, Suite A
 Abingdon, VA 24210
 Zachary.lee@usdoj.gov

 Daniel J. Murphy
 Assistant United States Attorney
 United States Attorney’s Office
 180 West Main Street, Suite B19
 Abingdon, Virginia 24210
 daniel.murphy@usdoj.gov


                                                     s/Juval O. Scott
